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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: RANBAXY GENERIC DRUG
 APPLICATION ANTITRUST                            MDL No. 2878
 LITIGATION


 THIS DOCUMENT RELATES TO:
                                                  Master File No.
                                                  19-md-02878-NMG
 All Direct Purchaser Class Actions



         NOTICE OF DECLARATION OF CLASS NOTICE ADMINISTRATOR



       Please take notice that, as directed at paragraph 12 of the Court’s September 24, 2021,

Order Approving the Form and Manner of Notice, Appointing a Notice Administrator, and

Formally Appointing Class Representatives and Lead Class Counsel (ECF 469-1), counsel for the

Direct Purchaser Class Plaintiffs herewith submits as Exhibit 1 the Declaration of Jessica Jenkins

Regarding Notice Mailing, which includes as Exhibit A the final class notice form.



       Dated: November 23, 2021                     Respectfully submitted,

                                                    /s/ Greg Arnold

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